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                                                                                     Jo Saint-George
                                                                                 Phone: 602-326-8663
                                                                                 Fax: (202) 830-2005
VIA- ECF -                                                                                    E-mail:
                                                                              jo@woc4equaljustice.org


October 16, 2024

Honorable Eric Komitee
United States District Court
Eastern District of New York
225 Cadman Plaza East, Courtroom 6G North
Brooklyn, New York 11201

              Re:     LETTER MOTION – REQUEST FOR CONTINUANCE
                      Women of Color for Equal Just ic e et al. v. New York, et. al
                      Civil Action No: 22-cv-02234

Dear Judge Komitee:

On September 25, 2024, this Court dismissed Plaintiffs claims in the above referenced matter, except
for the Title VII and New York City Huma Rights Act Claims for individual claimant Amoura Bryan.
See ECF #99

On October 9, 2024, Defendants the City of New York and City of New York Department of
Education (Collectively “City”) filed a Motion to Reconsider requesting this Court to also dismiss
Ms. Bryan’s remaining claims. See ECF #100.

On October 10, 2024, this Court vacated the status conference hearing scheduled November 7, 2024
and orderd Plaintiff Bryan to file a Letter Responsive Motion to the City’s Motion to Reconsider.

Counsel hereby requests a 90 – day continuance for Ms. Bryan to respond to the City’s Motion to
Reconsider. Contemporaneously filed with this Letter requesting Continuance, Counsel has filed a
Motion to Withdraw as Counsel for Ms. Bryan as outlined in the Motion and supporting Declaration.
See ECF #102 Ms. Bryan will need time to secure new counsel. Attached hereto as Exhibit 1 is Ms.
Bryan’s Notice of Claim the City has once again falsely represented that Plaintiffs have failed to file.

There are no other scheduled deadlines in this case.


  Respectfully Submitted,

 /s/ Jo Saint-George
 Jo Saint-George
                            14216 DUNWOOD VALLEY DR., BOWIE MD 20721
                             Phone: 602-326-8663 – www.WOC4EqualJustice.org
Case 1:22-cv-02234-EK-LB        Document 104 Filed 10/16/24             Page 2 of 29 PageID #:
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cc:   Elisheva L. Rosen
      Assistant Corporation Counsel
      Office of Hon. Sylvia O. Hinds-
      Radix
      The City of New York Law
      Department 100 Church Street
      New York, New York 10007
      Phone: (212) 356-3522
      E-mail: erosen@law.nyc.gov




                         14216 DUNWOOD VALLEY DR., BOWIE MD 20721
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                                  EXIBIT #1
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VIA FILE UPLOAD



May 10, 2022

Brad Lander
Office of the New York City Comptroller
1 Centre Street
New York, NY 10007
Form Version: NYC‐COMPT‐BLA‐LE‐C4

                  Re:   Notice of Claim Class Action - RULE 50

 Dear Mr. Lander:
 We represent the below list of New York City (the “City”) employees who have been placed on
 “indeterminate involuntary leave without pay” for exercising their right to refuse to Covid-19 vaccine
 based on their First Amendment Right to refuse and based on the City’s lack of authority to create
 the Covid-19 vaccine requirement because the authority is pre-empted by OSHA’s authority to set
 workplace safety standards.

 Therefore, this letter and the attached documents will serve as the Notice of Claims for Employment
 and Personal Injury Damages for City’s Violations of the employees First Amendment Rights,
 various New York Civil Service Disciplinary Laws, Title VII Religious Harassment, the American’s
 With Disability Act, and the New York City Human Rights Act, which provides punitive damages for
 the City’s reckless disregard for the rights of its employees.

 Attached find the following:
       1. one (1) completed Employment and Personal Injury Claim form for all employees, and we
           have provided an Excel spreadsheet that contains all of the data required to be provided
           in the attached forms.
       2. Spreadsheet list of employee information in support of the claim forms
       3. Exhibit A – Memorandum of Legal Causes of Action - pages 1-94

List of Employees for which the Notice of Claim applies and is provided for “All similarly situated
employees”:

   1.   Curtis Boyce
   2.   Sara Coombs-Moreno
   3.   Elizabeth Loiacono
   4.   Jesus Coombs
   5.   Julia Harding
   6.   Angela Velez
   7.   Sancha Browne
   8.   Amoura Bryan
   9.   Ayse Ustares
                            14216 DUNWOOD VALLEY DR., BOWIE MD 20721
                                            Phone: 602-326-8663
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  10. Zena Wouadjou
  11. Remo Dello Ioio
  12. Charisse Ridulfo
  13. Sancha Browne
  14. Tracy-Ann Francis-Martin
  15. Kareem Campbell
  16. Michelle Hemmings Harrington
  17. Mark Mayne
  18. Carla Grant
  19. Cassandra Chandler
  20. Aura Moody
  21. Suzanne Deegan
  22. Evelyn Zapata
  23. Christine O'Reilly
  24. Edward Weber
  25. Maritza Romero
  26. Sean Milan
  27. Sonia Hernandez
  28. Jeffrey B. Hunter
  29. Rasheen Odom
  30. Maria Figaro
  31. Sara Coombs-Moreno
  32. Frankie Trotman
  33. Yulonda Smith
  34. Roseanna Mustacchia
  35. Jessica Csepku
  36. Natalya Hogan
  37. Bruce Reid
  38. Joseph Rullo
  39. Cheryl Thompson
  40. Dianne Baker-Pacius


  If you have any questions or need additional information, please feel free to contact me on my cell number
  at 602-326-8663.


                                               Sincerely,

                                         Jo Saint-George, Esq.
                                         Jo Saint-George, Esq.
                                          Chief Legal Officer




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                                           Phone: 602-326-8663
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                                                             WOMEN OF COLOR 4 EQUAL JUSTICE
                                                             JO SAINT-GEORGE, ESQ.
                                                             MAILING - 350 E. DIAMOND AVE.
                                                             UNIT 4077
                                                             GIATHERSBURG
                                                             MARYLAND
     USTARES                                                 20877
     AYSE                                                    261289930
                                                             (602) 326-8663
                                                             JO@WOC4EQUALJUSTICE.ORG
                                                             JO@WOC4EQUALJUSTICE.ORG




                                                             09/09/2021
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                                                             ONGOING RELIGIOUS & DISABILITY
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                                                             PS 19 JUDITH K. WEISS


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THE WOMEN OF COLOR FOR EQUAL JUSTICE ARE REPRESENTING MULTIPLE CITY WORKERS AND IS SEEKING
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            #102
            BROOKLYN
            NEW YORK
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     MENTAL DISTRESS DAMAGES FOR HARASSMENT + COERCION = 2X SALARY
     PUNITIVE DAMAGES FOR RECKLESS DISREGARD FOR MY MEDICAL FREEDOM
     PUNITIVES CALCULATED BASED ON 3 X GROSS SALARY
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                                                             WOMEN OF COLOR 4 EQUAL JUSTICE
                                                             JO SAINT-GEORGE, ESQ.
                                                             MAILING - 350 E. DIAMOND AVE.
                                                             UNIT 4077
                                                             GIATHERSBURG
                                                             MARYLAND
     MOODY                                                   20877
     AURA                                                    261289930
                                                             (602) 326-8663
                                                             JO@WOC4EQUALJUSTICE.ORG
                                                             JO@WOC4EQUALJUSTICE.ORG




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                                                             ONGOING RELIGIOUS & DISABILITY
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     MENTAL DISTRESS DAMAGES FOR HARASSMENT + COERCION = 2X SALARY
     PUNITIVE DAMAGES FOR RECKLESS DISREGARD FOR MY MEDICAL FREEDOM
     PUNITIVES CALCULATED BASED ON 5 X GROSS SALARY
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                                                              UNIT 4077
                                                              GIATHERSBURG
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     BRYAN                                                    20877
     AMOURA                                                   261289930
                                                              (602) 326-8663
                                                              JO@WOC4EQUALJUSTICE.ORG
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     MENTAL DISTRESS DAMAGES FOR HARASSMENT + COERCION = 2X SALARY
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                                                              JO SAINT-GEORGE, ESQ.
                                                              MAILING - 350 E. DIAMOND AVE.
                                                              UNIT 4077
                                                              GIATHERSBURG
                                                              MARYLAND
     OREILLY                                                  20877
     CHRISTINE                                                261289930
                                                              (602) 326-8663
                                                              JO@WOC4EQUALJUSTICE.ORG
                                                              JO@WOC4EQUALJUSTICE.ORG




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                                                              ONGOING RELIGIOUS & DISABILITY
                                                              HARASSMENT & DISTRESS

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     MENTAL DISTRESS DAMAGES FOR HARASSMENT + COERCION = 2X SALARY
     PUNITIVE DAMAGES FOR RECKLESS DISREGARD FOR MY MEDICAL FREEDOM
     PUNITIVES CALCULATED BASED ON 3 X GROSS SALARY
     ATTORNEY FEES
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                                                              WOMEN OF COLOR 4 EQUAL JUSTICE
                                                              JO SAINT-GEORGE, ESQ.
                                                              MAILING - 350 E. DIAMOND AVE.
                                                              UNIT 4077
                                                              GIATHERSBURG
                                                              MARYLAND
     CHANDLER                                                 20877
     CASSANDRA                                                261289930
                                                              (602) 326-8663
                                                              JO@WOC4EQUALJUSTICE.ORG
                                                              JO@WOC4EQUALJUSTICE.ORG




                                                              09/09/2021
                                                              05/11/2022

                                                              ONGOING RELIGIOUS & DISABILITY
                                                              HARASSMENT & DISTRESS

                                                              150 WILLIAM STREET


                                                              NEW YORK
                                                              NEW YORK
     DEPT. OF EDUCATION                                       MANHATTAN (NEW YORK)
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THE WOMEN OF COLOR FOR EQUAL JUSTICE ARE REPRESENTING MULTIPLE CITY WORKERS AND IS SEEKING
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SERVICE LAWS A. EDUCATION LAW §3020 FOR ALL TENURED TEACHERS IN THE DEPARTMENT OF EDUCATION;




            ADMINISTRATION FOR CHILDREN'S SERVICES                         210
            66 JOHN STREET
            #400
            NEW YORK
            NEW YORK
            10038
Case
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     MENTAL DISTRESS DAMAGES FOR HARASSMENT + COERCION = 2X SALARY       2
     PUNITIVE DAMAGES FOR RECKLESS DISREGARD FOR MY MEDICAL FREEDOM
     PUNITIVES CALCULATED BASED ON 3 X GROSS SALARY                      3
     ATTORNEY FEES                                                       5


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                                                              WOMEN OF COLOR 4 EQUAL JUSTICE
     NOTE: MR. DELLO IOIO HAS FILED A NOTICE
                                                              JO SAINT-GEORGE, ESQ.
     THIS IS TO CONFIRM THAT
                                                              MAILING - 350 E. DIAMOND AVE.
     WE REPRSENT HIM NOW.
                                                              UNIT 4077
                                                              GIATHERSBURG
                                                              MARYLAND
     RIDULFO                                                  20877
     CHARISSE                                                 261289930
                                                              (602) 326-8663
                                                              JO@WOC4EQUALJUSTICE.ORG
                                                              JO@WOC4EQUALJUSTICE.ORG




                                                              09/09/2021
                                                              05/11/2022

                                                              ONGOING RELIGIOUS & DISABILITY
                                                              HARASSMENT & DISTRESS

                                                              3450 TREMONT AVENUE


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                                                              NEW YORK
     DEPT. OF EDUCATION                                       BRONX
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            DEPT. OF EDUCATION                                             210
            65 COURT ST.
            #102
            BROOKLYN
            NEW YORK
            11201
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     PUNITIVE DAMAGES FOR RECKLESS DISREGARD FOR MY MEDICAL FREEDOM
     PUNITIVES CALCULATED BASED O
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                                                              WOMEN OF COLOR 4 EQUAL JUSTICE
                                                              JO SAINT-GEORGE, ESQ.
                                                              MAILING - 350 E. DIAMOND AVE.
                                                              UNIT 4077
                                                              GIATHERSBURG
                                                              MARYLAND
     BAKER-PACIUS                                             20877
                                                              261289930
                                                              (602) 326-8663
                                                              JO@WOC4EQUALJUSTICE.ORG
                                                              JO@WOC4EQUALJUSTICE.ORG




                                                              09/09/2021
                                                              05/11/2022

                                                              ONGOING RELIGIOUS & DISABILITY
                                                              HARASSMENT & DISTRESS

                                                              370 WEST 120TH ST.


                                                              NEW YORK
                                                              NEW YORK
     DEPT. OF EDUCATION                                       MANHATTAN (NEW YORK)
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            DEPT. OF EDUCATION                                             210
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     PUNITIVES CALCULATED BASED ON 3 X GROSS SALARY
     ATTORNEY FEES
